                  Case 21-2939, Document 105, 03/01/2023, 3476566, Page1 of 2




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March 1, 2023

VIA ECF

Catherine O’Hagan Wolfe
Clerk of Court
U.S. Court of Appeals for the Second Circuit
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

         Re:       Oakley v. MSG Networks, et al., No. 21-2939

Dear Ms. O’Hagan Wolfe:

We write in response to the Court’s request on February 24, 2023 that we submit certain video files
that were included as part of the appendix in this case in .mp4 format. Following the receipt of the
Court’s request, we were able to convert all but one of the video files into the appropriate format
and submitted them to the Court on February 27, 2023. The lone exception is an internal security
video (without any accompanying audio) created by Defendant Madison Square Garden (“MSG”)
that purports to show all of the attendees at the New York Knicks game on February 8, 2017, the
date on which Mr. Oakley alleges he was assaulted by Defendants’ employees (the “Internal
Security Video”). See Oakley v. Dolan, et al., No. 21-2939, Dkt. No. 26 at A-121. Importantly,
the Internal Security Video can only be played using Defendants’ proprietary software, which was
also included as part of the record (the “MSG Software”). See id. The MSG Software allows the
Court to zoom in on specific individuals who were present at the Garden that night, such as, inter
alia, Plaintiff, Defendant James Dolan or the particular security guards who Plaintiff alleges
participated in his assault and battery. To do so, the Court can press the magnifying glass button in
the upper right hand corner and click repeatedly on a section of the video until that individual is
visible.1 While other video clips in the record show various aspects of the parties’ conduct,
Plaintiff included the Internal Security Video and the MSG Software both so that the Court has all
of the evidence in the record that was presented to the District Court and in the event that the Court
wishes to focus its attention on any particular aspect of the events and/or actors relevant to the
issues implicated by Plaintiff’s appeal. Further, because the Internal Security Video was created by
the MSG Software, it cannot be converted into an .mp4 file while maintaining the ability to zoom
in on events relevant to this case.


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        A static version of the Internal Security Video is also included in the record. See Oakley v. Dolan, et al., No.
21-2939, Dkt. No. 27 at A-366-367.
               Case 21-2939, Document 105, 03/01/2023, 3476566, Page2 of 2


                                                                          Catherine O’Hagan Wolfe
                                                                                     March 1, 2023
                                                                                            Page 2



Finally, it bears noting Plaintiff has included the Internal Security Video and the MSG Software in
their original format, in the previous appeal filed in the same case, for the Panel’s review. See
Oakley v. Dolan, et al., No. 20-0642, Dkt. No. 33-1 at A-66.

Should the Court have any additional questions, please do not hesitate to contact us.

Respectfully submitted,


Renan F. Varghese

cc:    All Counsel of Record (via ECF)
